                            Case 18-12012-LSS              Doc 358       Filed 11/09/18        Page 1 of 13



                                          UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF DELAWARE


            In re                                                         Chapter 11

            OPEN ROAD FILMS, LLC, a Delaware                              Case No.: 18-12012 (LSS)
            limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.


                                  NOTICE OF AGENDA OF MATTERS SCHEDULED
                               FOR HEARING ON NOVEMBER 14, 2018 AT 1:30 P.M. (ET)

            RESOLVED MATTERS

            1.       Debtors’ Motion for Entry of an Order Extending the Debtors’ Deadline to File
                     Schedules of Assets and Liabilities and Statements of Financial Affairs [D.I. 145,
                     10/4/18]

                     Response Deadline:                                    October 18, 2018 at 4:00 p.m. (ET)

                     Responses Received:                                   None

                     Related Documents:

                         A.       Order Extending the Debtors’ Deadline to File Schedules of Assets and
                                  Liabilities and Statements of Financial Affairs [D.I. 219, 10/23/18]

                     Status:      An order has been entered.

            2.       Application for Order Pursuant to 11 U.S.C. §§ 328 and 1103, Fed. R. Bankr. P. 2014,
                     and Local Rule 2014-1, Authorizing and Approving the Employment and Retention of
                     Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured
                     Creditors Nunc Pro Tunc to September 14, 2018 [D.I. 148, 10/4/18]

                     Response Deadline:                                    October 18, 2018 at 4:00 p.m. (ET)

                     Responses Received:                                   None




            1
                 The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                 Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                 (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                 LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.


01:23815455.6
                         Case 18-12012-LSS     Doc 358       Filed 11/09/18   Page 2 of 13



                 Related Documents:

                    A.      Order Authorizing and Approving the Retention of Pachulski Stang Ziehl &
                            Jones LLP as Counsel to the Official Committee of Unsecured Creditors Nunc
                            Pro Tunc to September 14, 2018 [D.I. 224, 10/24/18]

                 Status:    An order has been entered.

            3.   Application Pursuant to Fed. R. Bankr. P. 2014(a) for Entry of an Order Under Section
                 1103 of the Bankruptcy Code Authorizing the Employment and Retention of Dundon
                 Advisers LLC as Financial Advisor to the Official Committee of Unsecured Creditors
                 Nunc Pro Tunc to September 17, 2018 [D.I. 149, 10/4/18]

                 Response Deadline:                           October 18, 2018 at 4:00 p.m. (ET)

                 Responses Received:

                    A.      Informal comments from the Office of the United States Trustee

                 Related Documents:

                    B.      Order Authorizing the Employment and Retention of Dundon Advisers LLC
                            as Financial Advisor for the Official Committee of Unsecured Creditors Nunc
                            Pro Tunc to September 17, 2018 [D.I. 251, 10/31/18]

                 Status:    An order has been entered.

            4.   Debtors’ Motion for Entry of an Order Authorizing the Implementation of a Key
                 Employee Retention Program, Approving the Terms Thereof, and Granting Related
                 Relief [D.I. 190 & 191, 10/19/18]

                 Response Deadline:                           November 2, 2018 at 4:00 p.m. (ET)

                 Responses Received:                          None

                 Related Documents:

                    A.      Order Authorizing the Implementation of a Key Employee Retention
                            Program, Approving the Terms Thereof, and Granting Related Relief
                            [D.I. 348, 11/8/18]

                 Status:    An order has been entered.




01:23815455.6                                            2
                         Case 18-12012-LSS     Doc 358       Filed 11/09/18   Page 3 of 13



            5.   Debtors’ Motion, Pursuant to Section 107(b) of the Bankruptcy Code, Bankruptcy Rule
                 9018, and Local Rule 9018-1, for Entry of an Order Authorizing Them to Redact and File
                 Under Seal Certain Information Contained in Proposed Key Employee Retention Plan
                 Submitted in Connection With the Debtors’ Motion for Entry of an Order Authorizing the
                 Implementation of a Key Employee Retention Program, Approving the Terms Thereof,
                 and Granting Related Relief [D.I. 192, 10/19/18]

                 Response Deadline:                           November 2, 2018 at 4:00 p.m. (ET)

                 Responses Received:                          None

                 Related Documents:

                    A.      Debtors’ Motion for Entry of an Order Authorizing the Implementation of a
                            Key Employee Retention Program, Approving the Terms Thereof, and
                            Granting Related Relief [D.I. 190, 10/19/18]

                    B.      Order Approving the Debtors’ Motion, Pursuant to Section 107(b) of the
                            Bankruptcy Code, Bankruptcy Rule 9018, and Local Rule 9018-1, for Entry of
                            an Order Authorizing Them to Redact and File Under Seal Certain
                            Information Contained in Proposed Key Employee Retention Plan Submitted
                            in Connection with the Debtors’ Motion for Entry of an Order Authorizing the
                            Implementation of a Key Employee Retention Program, Approving the Terms
                            Thereof, and Granting Related Relief [D.I. 346, 11/8/18]

                 Status:    An order has been entered.

            6.   Debtors’ Motion for Entry of an Order, Pursuant to Bankruptcy Code Section 105(a) and
                 Bankruptcy Rule 9019, Approving Settlement with Showtime Networks, Inc. and IM
                 Global, LLC [D.I. 193, 10/19/18]

                 Response Deadline:                           November 2, 2018 at 4:00 p.m. (ET)

                 Responses Received:

                    A.      Informal comments from the Office of the United States Trustee

                 Related Documents:

                    B.      Order, Pursuant to Bankruptcy Code Section 105(a) and Bankruptcy Rule
                            9019, Approving Settlement with Showtime Networks, Inc. and IM Global,
                            LLC [D.I. 349, 11/8/18]

                 Status:    An order has been entered.




01:23815455.6                                            3
                         Case 18-12012-LSS      Doc 358      Filed 11/09/18   Page 4 of 13



            UNCONTESTED MATTERS – CERTIFICATIONS FILED

            7.   Debtors’ Motion for Entry of an Order, Pursuant to Bankruptcy Code Section 365,
                 Authorizing Rejection of Executory Contracts and Unexpired Leases [D.I. 84, 9/21/18]

                 Response Deadline:                           October 5, 2018 at 4:00 p.m. (ET)

                 Responses Received:

                    A.      Objection of Bryce Campbell [D.I. 152, 10/4/18]

                 Related Documents:

                    B.      Notice of Motion [D.I. 165, 10/11/18]

                    C.      Order Granting Debtors’ Motion for Entry of an Order, Pursuant to
                            Bankruptcy Code Section 365, Authorizing Rejection of Executory Contracts
                            and Unexpired Leases [D.I. 169, 10/12/18]

                    D.      Debtors’ Reply in Support of Motion [D.I. 249, 10/31/18]

                    E.      Certification of Counsel [D.I. 355, 11/9/18]

                    F.      Proposed Order

                 Status:    Item A has been resolved and a revised proposed order has been submitted
                            under Certification of Counsel. No hearing is required unless the Court has
                            questions.

            8.   Richard Dutcher’s Motion for Relief from Automatic Stay [D.I. 187, 10/19/18]

                 Response Deadline:                           November 2, 2018

                 Responses Received:

                    A.      Debtors’ Limited Objection to Richard Dutcher’s Motion for Relief from the
                            Automatic Stay [D.I. 292; 11/2/18]

                 Related Documents:

                    B.      Notice of Motion [D.I. 194, 10/19/18]

                    C.      Notice of Errata re: Notice of Motion [D.I. 195, 10/19/18]

                    D.      Certification of Counsel [D.I. 327, 11/6/18]




01:23815455.6                                            4
                         Case 18-12012-LSS      Doc 358      Filed 11/09/18     Page 5 of 13



                    E.      Proposed Order

                 Status:    Item A has been resolved and a revised proposed order has been submitted
                            under Certification of Counsel. No hearing is required unless the Court has
                            questions.

            CONTESTED MATTERS GOING FORWARD

            9.   Debtors’ Motion for Orders: (A)(I) Establishing Bid and Sale Procedures Relating to the
                 Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Debtors to Enter
                 Into an Asset Purchase Agreement with Stalking Horse Bidder, (III) Establishing and
                 Approving Procedures Relating to the Assumption, Assignment and Sale of Certain
                 Executory Contracts and Unexpired Leases, Including Notice of Proposed Cure Amounts
                 and (IV) Scheduling a Hearing to Consider the Proposed Sale and (B)(I) Approving the
                 Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Assumption,
                 Assignment and Sale of Certain Executory Contracts and Unexpired Leases, and
                 (III) Granting Certain Related Relief [D.I. 9, 9/6/18]

                 Response Deadlines:                             November 2, 2018 at 4:00 p.m. (ET) for
                                                                 sale and cure responses (for the Official
                                                                 Committee of Unsecured Creditors, the
                                                                 deadline to object to the sale is 8:30 a.m.
                                                                 (ET) the day of the sale hearing) and
                                                                 November 7, 2018 at 4:00 p.m. (ET) for
                                                                 adequate assurance responses [Each
                                                                 deadline having been extended for certain
                                                                 parties]

                 Sale Responses Received:                     See Exhibit A attached hereto

                 Cure and Adequate Assurance Responses Received: See Exhibit B attached hereto

                 Related Documents:

                    A.      Notice of Motion [D.I. 50, 9/7/18]

                    B.      Notice of Filing of (I) Proposed Sale Order and (II) Proposed Form APA
                            [D.I. 124, 10/1/18]

                    C.      Order: (1) Approving Bid and Sale Procedures, (2) Approving Assumption,
                            Assignment and Cure Procedures and Related Notices, (3) Establishing Date
                            for Auction and Approving Related Procedures, (4) Scheduling the Sale
                            Hearing and Related Deadlines, and (5) Granting Related Relief [D.I. 160,
                            10/9/18]

                    D.      Notice of Auction and Sale Hearing [D.I. 166, 10/11/18]


01:23815455.6                                            5
                          Case 18-12012-LSS      Doc 358     Filed 11/09/18    Page 6 of 13



                     E.      Notice of Proposed Assumption and Assignment of Executory Contracts and
                             Unexpired Leases [D.I. 172; 10/12/18]

                     F.      Submission of Affidavits of Publication Regarding Notice of Auction and sale
                             Hearing [D.I. 183, 10/18/18]

                     G.      Notice of Filing of (I) Stalking Horse Agreement, (II) Summary of Proposed
                             Bid Protections, and (III) Summary of Proposed Amendments to Bid
                             Procedures Order [D.I. 216, 10/23/18]

                     H.      Order Authorizing and Approving Certain Bidding Protections, Amendments
                             to Bid Procedures Order, and Granting Related Relief [D.I. 239, 10/26/18]

                     I.      Amended Notice of Auction and Sale Hearing [D.I. 243, 10/26/18]

                     J.      Notice of Filing of Schedule of Contracts with Amended Cure Amounts
                             [D.I. 248, 10/30/18]

                     K.      Notice of Filing of Proposed Stalking Horse Order [D.I. 256, 10/31/18]

                     L.      Notice of Filing of Stalking Horse Bidder’s Proposed Adequate Assurance of
                             Future Performance [D.I. 299, 11/3/18]

                     M.      Notice of (I) Filing of (A) Updated Schedule of Purchased Titles and
                             (B) Stalking Horse Bidder’s Schedule of Available Contracts Designated as
                             Assumed Contracts, and (II) Extension of Designation Cut-Off Date [D.I. 300,
                             11/3/18]

                     N.      Notice of Cancellation of Auction [D.I. 314, 11/5/18]

                     O.      Notice of (I) Adjourned (A) Omnibus Hearing and (B) Sale Hearing, and
                             (II) Further Extension of Designation Cut-Off Date [D.I. 330, 11/6/18]

                  Status:    This matter is going forward.

            10.   Redrover Co. Ltd.’s Motion for Entry of an Order Compelling Assumption or Rejection
                  of Executory Contracts, Adequate Protection, and Related Relief [D.I. 222, 10/23/18]

                  Response Deadline:                          November 2, 2018 at 4:00 p.m. (ET)
                                                              [Extended until November 6, 2018 for the
                                                              Debtors]

                  Responses Received:

                     A.      Reservation of Rights of Endgame Releasing Co., LLC and Endgame
                             Releasing Funding, LLC [D.I. 294, 11/2/18]

                     B.      Debtors’ Limited Objection [D.I. 325, 11/6/18]
01:23815455.6                                            6
                          Case 18-12012-LSS      Doc 358         Filed 11/09/18       Page 7 of 13




                  Related Documents:                              None

                  Status:    This matter is going forward.

            11.   Motion of Viacom International Inc. Pursuant to Sections 362(d) and 553 of the
                  Bankruptcy Code for Relief From the Automatic Stay to Effectuate Setoff [D.I. 296,
                  11/2/18]

                  Response Deadline:                              November 8, 2018 at 4:00 p.m. (ET)

                  Related Documents:

                     A.      Order Shortening Notice [D.I. 308, 11/5/18]

                  Responses Received:

                     B.      Informal comments of the Debtors

                  Status:    Item B is tentatively resolved. Viacom intends to submit a revised order
                             under certification of counsel prior to the hearing.

            12.   Motion of Showtime Networks Inc. for Entry of an Order Authorizing Showtime
                  Networks Inc. to File Under Seal the Limited Objection and Reservation of Rights of
                  Showtime Networks Inc. to Proposed Sale Free and Clear of All Liens, Claims,
                  Encumbrances and Other Interests [D.I. 318, 11/6/18]

                  Response Deadline:                              At the hearing

                  Related Documents:

                     A.      Limited Objection and Reservation of Rights of Showtime Networks Inc. to
                             Proposed Sale Free and Clear of All Liens, Claims, Encumbrances and Other
                             Interests [D.I. 316, 11/6/18]

                     B.      Exhibit A [D.I. 315, 11/6/18]

                  Responses Received:                             None at this time

                  Status:    This matter is going forward.

            13.   Endgame’s Motion to File Under Seal Certain Exhibits to the Declaration of James D.
                  Stern in Support of Endgame’s Objection to the Sale Motion [D.I. 337, 11/6/18]

                  Response Deadline:                              At the hearing




01:23815455.6                                                7
                        Case 18-12012-LSS       Doc 358         Filed 11/09/18        Page 8 of 13



                  Related Documents:

                     A.     Declaration of James D. Stern in Support of Endgames’ Objection to Debtors’
                            Motion for an Order (I) Approving the Sale of Substantially all of the
                            Debtors’ Assets and (II) Authorizing the Assumption, Assignment and Sale of
                            Certain Executory Contracts and Unexpired Leases [D.I. 335, 11/6/18]

                  Responses Received:                             None at this time

                  Status:   This matter is going forward.

            Dated: November 9, 2018                         /s/ Ian J. Bambrick
                                                            Michael R. Nestor, Esq. (Bar No. 3526)
                                                            Robert F. Poppiti, Jr., Esq. (Bar No. 5052)
                                                            Ian J. Bambrick, Esq. (Bar No. 5455)
                                                            YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                            Rodney Square
                                                            1000 North King Street
                                                            Wilmington, Delaware 19801
                                                            Tel: (302) 571-6600
                                                            Fax: (302) 571-1253

                                                            and

                                                            Michael L. Tuchin, Esq.
                                                            Jonathan M. Weiss, Esq.
                                                            Sasha M. Gurvitz, Esq.
                                                            KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                                            1999 Avenue of the Stars, 39th Floor
                                                            Los Angeles, CA 90067
                                                            Tel: (310) 407-4000
                                                            Fax: (310) 407-9090

                                                            Counsel to Debtors and Debtors in Possession




01:23815455.6                                               8
                                            Case 18-12012-LSS        Doc 358      Filed 11/09/18   Page 9 of 13



                                                           EXHIBIT A – SALE RESPONSES

                Docket      Date Provided
                                           Respondent                                                          Status
                No.         or First Filed
                                           Universal Music Enterprises, a Division of UMG Recordings,
        1         280           11/2/18    Inc., Universal Music Corp., Songs of Universal, Inc. and           Going forward
                                           Universal Tunes, a Division of Songs of Universal Inc.
                                           Silver Reel Entertainment Mezzanine Fund, L.P. and Host Film
        2         284           11/2/18                                                                        Going forward
                                           Holdings, LLC
        3       285 & 342      11/2/18      The Film Musicians Secondary Markets Fund                          Going forward
                                            Fox 2000 Pictures, a division of Twentieth Century Fox Film
        4         286          11/2/18                                                                         Going forward
                                            Corporation
        5       288 & 289      11/2/18      All I See Partners 2015, L.P.                                      Going forward
                                            Endgame Releasing Co., LLC, Endgame Releasing Funding, LLC
        6       293 & 353      11/2/18                                                                 Going forward
                                            and Happy Pill Distribution, LLC
                                            Viacom International Inc. and its affiliates, including
        7         295          11/2/18      Awesomeness Distribution, LLC and Paramount Pictures       Going forward
                                            Corporation
                305, 315,
        8                      11/5/18      Showtime Networks Inc.                                             Going forward
                 & 347
                                            Entertainment One UK Limited, Entertainment One Benelux BV,
        9         307          11/5/18                                                                         Going forward
                                            Entertainment One Canada, Inc.
        10        310          11/5/18      Turner Entertainment Networks, Inc.                                Going forward
                                            Directors Guild of America, Inc., the Screen Actors Guild-
                                            American Federation of Television and Radio Artists, the Writers
        11        320          11/6/18      Guild of America, West, Inc. and their respective Pension and      Going forward
                                            Health Plans, as well as the Motion Picture Industry Pension and
                                            Health Plans




01:23815455.6
                                       Case 18-12012-LSS      Doc 358    Filed 11/09/18   Page 10 of 13



                Docket   Date Provided
                                        Respondent                                                  Status
                No.      or First Filed
       12         333       11/6/18    Happy Pill Distribution, LLC and Happy Pill, LLC             Going forward
                                       Endgame Releasing Co., LLC and Endgame Releasing Funding,
       13 334 & 336         11/6/18                                                                 Going forward
                                       LLC
       14         338       11/6/18    Spotlight Film, LLC                                          Going forward

       15         344       11/7/18    Redrover Co., Ltd.                                           Going forward




                                                                     2


01:23815455.6
                                            Case 18-12012-LSS        Doc 358    Filed 11/09/18   Page 11 of 13



                                            EXHIBIT B – CURE/ADEQUATE ASSURANCE RESPONSES

                Docket     Date Provided                               Respondent                                       Status
                 No.       or First Filed
        1       Informal     10/16/18       Digital Cinema Distribution Coalition, LLC                       Resolved

        2       Informal     10/19/18       Good Films Enterprise, LLC                                       Resolved

        3       Informal     10/22/18       Dolphin Max Steel Holdings, LLC                                  Resolved

        4       Informal     10/26/18       Showtime Networks Inc.                                           Going forward

        5       Informal     10/26/18       Cinemark USA                                                     Resolved

        6       Informal     10/30/18       Sheriff Production Inc./Jay Rodan                                Going forward

        7       Informal     10/31/18       FullScreen, Inc.                                                 Resolved

        8         247        10/30/18       mOcean Pictures, LLC                                             Going forward

        9         262         11/1/18       FilmNation International, LLC                                    Going forward

        10        264         11/1/18       Stampede Post Productions, Inc.                                  Going forward

        11        265        10/30/18       BLT Communications, LLC                                          Going forward

        12        270         11/1/18       American Multi-Cinema, Inc. aka AMC Theatres                     Going forward

        13        272         11/2/18       Scorpions GBR                                                    Resolved

        14        273         11/2/18       Universal Studios Home Entertainment LLC                         Going forward




01:23815455.6
                                             Case 18-12012-LSS        Doc 358    Filed 11/09/18   Page 12 of 13



                Docket      Date Provided                                Respondent                                         Status
                 No.        or First Filed
       15         275          11/2/18       Google LLC f/k/a Google Inc.                                       Going forward

       16         276          11/2/18       Veritas Technologies LLC                                           Going forward

       17         279          11/2/18       Studiocanal S.A.S.                                                 Going forward
                                             Universal Music Enterprises, a Division of UMG Recordings, Inc.,
       18         280          11/2/18       Universal Music Corp., Songs of Universal, Inc. and Universal      Going forward
                                             Tunes, a Division of Songs of Universal Inc.
       19         282          11/2/18       Sous Chef, LLC                                                     Going forward

       20 283 & 342            11/2/18       The Film Musicians Secondary Markets Fund                          Going forward
                                             Silver Reel Entertainment Mezzanine Fund, L.P. and Host Film
       21         284          11/2/18                                                                          Going forward
                                             Holdings, LLC
                                             Fox 2000 Pictures, a division of Twentieth Century Fox Film
       22         286          11/2/18                                                                          Going forward
                                             Corporation
       23         287          11/2/18       BBG Home Again LLC                                                 Going forward

       24 288 & 289            11/2/18       All I See Partners 2015, L.P.                                      Going forward

       25         290          11/2/18       Lakeshore Entertainment Productions LLC                            Going forward
                293, 334,                    Endgame Releasing Co., LLC, Endgame Releasing Funding, LLC
       26                      11/2/18                                                                           Going forward
                 & 336                       and Happy Pill Distribution, LLC
                                             Viacom International Inc. and its affiliates, including Awesomeness
       27         295          11/2/18                                                                           Going forward
                                             Distribution, LLC and Paramount Pictures Corporation
                                             Entertainment One UK Limited, Entertainment One Benelux BV,
       28         307          11/5/18                                                                           Going forward
                                             Entertainment One Canada, Inc.



                                                                             2


01:23815455.6
                                          Case 18-12012-LSS        Doc 358    Filed 11/09/18    Page 13 of 13



                Docket   Date Provided                               Respondent                                         Status
                 No.     or First Filed
                                          Directors Guild of America, Inc., the Screen Actors Guild-
                                          American Federation of Television and Radio Artists, the Writers
       29        319        11/6/18       Guild of America, West, Inc. and their respective Pension and      Going forward
                                          Health Plans, as well as the Motion Picture Industry Pension and
                                          Health Plans
       30        333        11/6/18       Happy Pill Distribution, LLC and Happy Pill, LLC                   Going forward

       31        338        11/6/18       Spotlight Film, LLC                                                Going forward

       32        344        11/7/18       Redrover Co., Ltd.                                                 Going forward

       33        347        11/8/18       Showtime Networks Inc.                                             Going forward




                                                                          3


01:23815455.6
